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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NOTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KEVIN HEBERLE, individually and                )
On behalf of others similar situated,          )       CLASS ACTION COMPLAINT
                                               )
                 Plaintiffs,                   )       Case No. 18-cv-02288
                                               )
-v-                                            )
                                               )
JULIAN SPENCE a/k/a                            )
JUVANE BRYAN SPENCE,                           )
                                               )
                 Defendant.                    )

                                           COMPLAINT

         NOW COMES Kevin Heberle (“Plaintiff or “Heberle”), on behalf of himself and all others

similarly situated brings this class action against Defendant Julian Spence a/k/a Juvane Bryan

Spence (“Spence or the “Defendant”), and alleges the following:

                                        INTRODUCTION
      1. Despite public perception, leading cryptocurrencies such as Bitcoin, Ethereum and Ripple

only tell part of the story. The market for “Initial Coin Offerings” – a transaction akin to an Initial

Public Offering in which a new cryptocurrency is created and sold to fund the issuing entity, has

exceeded well over $3 billion in the last year alone. While these largely unregulated financing

transactions have helped accelerate the development of blockchain technology-based projects, the

access to capital has invited in the odd unscrupulous operator. The allegations made herein detail

an illusory and ostensibly fake “ICO” that was created by Defendant as a mere artifice to convert

and steal Plaintiffs’ cryptocurrency.

      2. Defendant, at all times relevant to the Class Period, held himself out to be an expert in

cryptocurrency and in particular, initial coin offerings. Plaintiffs first came to know Spence during

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the Class Period when he sought to promote his alleged new cryptocurrency – “Dark Ripple.”

Playing off the successful cryptocurrency known simply as “Ripple,” Spence claimed to the be

developer of Dark Ripple or “DRIP” and fashioned DRIP to be better, more transparent, alternative

to the mainstream cryptocurrency Ripple.

   3. Using common means of cryptocurrency promotion, such as social media, online chat

platforms such as Telegram and popular forums such as Bitcointalk.org, Spence set about a scheme

to defraud Plaintiffs through the sale of DRIP tokens. This included using the Ripple logo as to

indicate a formal relationship with the cryptocurrency. It was through those mediums, that Spence

solicited for sale, and ultimately sold the illusory and economically worthless DRIP digital

currency.

   4. Plaintiff and others followed Spence and his pattern of online promotion, believing that

DRIP was indeed a more technologically viable and valuable form of Ripple. This, of course, was

utter falsehood and fraudulent basis that Spence spun to create an artifice and vehicle to defraud

Plaintiffs. Over the course of two (2) months, believing that DRIP was positioned to become a

leading cryptocurrency, the Plaintiffs purchased 763,874 DRIP tokens from Spence for the

aggregate price of 46 Ethereum token (a leading cryptocurrency) for an as-converted dollar value

of $22,293.90 as of the date of this Complaint. Only a mere few days following the last payment

for DRIP was received, Spence disappeared and with it took great lengths to scrub the internet or

any claims or evidence of existence of DRIP or the sale of DRIP tokens.

                                 JURISDICTION & VENUE

   5. The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the 1934 Act

(15 U.S.C. §§78j and 78t(a)) and Rule 10b-5 (17 C.F.R. §240.10b-5) promulgated thereunder by

the SEC. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.



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§1331 and $27 of the 1934 Act (15 U.S.C. §78aa). Moreover, subject matter jurisdiction of this

Court also arises under 28 U.S.C. § 1332 as the parties hereto are citizens of different states and

the amount in controversy exceeds $75,000/00. This Court has supplementary jurisdiction over

Plaintiff's state law claim pursuant to 28 U.S.C. § 1367.

    6. Venue is proper in this District pursuant to §27 of the 1934 Act of 28 U.S.C. §1391(b), as

many of the acts and practices complained of herein occurred in substantial part in this District,

Defendant resides in this District, and certain of the acts and conduct complained of herein,

including dissemination of materially false and misleading information to the investing public,

occurred in this District.

    7. In connection with the acts alleged in this complaint, Defendants, directly or indirectly,

used the means and instrumentalities of interstate commerce, including, but not limited to, the

mails, interstate electronic communications and interstate telephonic communications.

                                              PARTIES

    8. Plaintiff Kevin Heberle is a resident of the State of California and is one of investors in the

DRIP initial coin offering.

    9. Plaintiff avers that there are individuals, both known and unknown to him, that share a

commonality of the allegations made herein.

    10. Defendant Julian Spence is a resident of Cook County, Illinois and the lone architect and

promoter of the DRIP initial coin offering.

                                       RELEVANT FACTS

    11. Beginning on or about October 27, 2017, Spence initiated his efforts to sell the DRIP initial

coin offering through social media and online forums. This included creating a presence on the

popular forum Bitcointalk.org under the username “DarkRipple.” See Exhibit A. Spence would



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further create a forum on the popular “Telegram” social media platform located that would serve

as the main method of communication concerning DRIP. On the Telegram channel, Spence would

post promises concerning the value and utility of the DRIP token that were simply false, including:

   “Development: First and foremost, we are dedicated to giving our community the most liquidity possible; and to do
   so we have to get DRIP in the hands of more people. But we are also working on our Alpha version of our exclusive
   DRIP mobile wallet for android and IOS. Our exclusive $DRIP mobile wallets, will allow for storage, sending
   and receiving our token. It will also play as a hub for our merchants, partners, and consumers whose selling
   goods/services. This will allow us to showcase our commerce platform built directly on top of our technology, and
   our micro economy ecosystem.” https://web.telegram.org/#/im?p=@darkripple
   12. Spence created and publicly disseminated marketing materials extolling the economic

value of DRIP and apparent superiority to Ripple. See Exhibit B. These materials were widely

promoted and provided to Plaintiff in an effort solicit his interest in purchasing DRIP token. While

Spence continually touted the benefits of DRIP, he actively concealed the true nature, functionality

and value of the token. While viable blockchain-based companies seeking to develop tokens with

the alleged functionality of DRIP often spend well in excess of $500,000 in development costs,

Spence used an online service to effectively clone the opensource Ethereum cryptocurrency for

the cost of only $50.

   13. For his part, Spence held himself out to be a successful venture capitalist and blockchain

technology entrepreneur. Spence further claimed that he was a successful cryptocurrency trader,

often posting fake images of substantial trading accounts to social media in an attempt to garner

further confidence from his prospective victims. Despite his claims, Spence hasn’t any accrued

any notable experience or success in the venture capital, blockchain or cryptocurrency trading

arenas.

   14. Beginning on November 2, 2017, Spence organized a DRIP “Pre-Sale” event in which he

sought to solicit investors at a discounted price from the anticipated initial coin offering. In

connection with the Pre-Sale, he noted that his objective was to “make investors rich,” when


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nothing could have been further the truth. The price at which Spence offered the DRIP token in

the Pre-Sale was $0.02 per token.

   15. To orchestrate his scheme, Spence continued to promote the illusory utility of the DRIP

token, including the ability to be used to purchase goods and services. See Exhibit C. He would

even go as far as to promise a five (5%) percent dividend for those early investors. See Exhibit B.

Finally, on a post on the DRIP Telegram channel, he would state that “[I] am dedicated to giving

our community the most liquidity possible..” – suggesting that the interest in DRIP would be such

that there would be a certain liquidity inherent in the token.

   16. These representations were entirely false and Spence was aware of the falsity of such

representations at the time he made them. Ultimately, however, the representations were effective

to carry out his scheme. By November 27, 2017, the end of the Pre-Sale, Spence has sold 763,874

DRIP tokens for a total 46 Ethereum tokens (the price of one Ethereum token as of the date of this

Complaint being $563.35). For his part, Plaintiff purchased approximately $4,000 worth of DRIP

token. See Exhibit D

   17. Following the completion of the Pre-Sale, Spence indicated to Plaintiff that he intended to

continue working to promote the DRIP token. The lone step that he would take, however, was to

initiate an “Airdrop” of DRIP token. See Exhibit B. In the cryptocurrency industry, an Airdrop is

an event where tokens are effectively given out for free or as consideration for some micro-task

such as social media posts.

   18. In that Plaintiff and others had just paid for the DRIP token, he naturally became upset that

Spence had resorted to effectively giving the token away for free. His effort to create more

widespread adoption, of course, failed like everything else. The DRIP token was never able to

obtain the trading volume that Spence has repeatedly promised before and during the Pre-Sale.



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    19. Throughout December, 2017, Spence became increasingly unresponsive to Plaintiff and

other’s inquiries, including having abandoned the Telegram channel altogether. By January 3,

2018, Spence had effectively scrubbed the internet of any mention of DRIP, including having

deleted its website, Twitter, and deleted its Telegram channel. Spence would then embark upon a

plan to conceal and convert the investor’s Ethereum, including transferring the 46 Ethereum to a

personal wallet and exchange of the Ethereum with various other cryptocurrencies to effectively

“launder” the proceeds of the DRIP sale. See Exhibit E.

                                       CLASS ALLEGATIONS

    20. Class Definition: Plaintiffs bring this class action pursuant to Fed. R. Civ. P. 23(b)(1),

 (b)(2) and (b)(3)on behalf of himself and a Class of similarly situated individuals and businesses,

 defined as follows:

        All purchasers of the DRIP token from Defendant Julian Spence

Excluded from the Class is: (1) Defendant, Defendant's agents, subsidiaries, parents, successors,

predecessors, and any entity in which Defendant or its parents have a controlling interest, and those

entities' current and former employees, officers, and directors; (2) the Judge to whom this case is

assigned and the Judge's immediate family; (3) any person who executes and files a timely request

for exclusion from the Class; (4) any person who has had their claims in this matter finally

adjudicated and/or otherwise released; and (5) the legal representatives, successors and assigns of

any such excluded person.

    21. Plaintiff reserves the right to redefine the Class prior to certification.

    22. Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon such

information and belief avers, that the number of persons and entities of the Plaintiff Classes is numerous

and joinder of all members is impracticable. Plaintiff is informed and believes, and upon such information

and belief avers, that the number of class members is at least forty.

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   23. Commonality (Fed. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply to the

claims of all class members. These common legal and factual questions, which do not vary from

Class member to Class member, and which may be determined without reference to the individual

circumstances of any Class member include, but are not limited to, the following: (a) whether

Defendant violated the Exchange Act in connect with the solicitation, offer and sale of DRIP; (b)

whether Defendant fraudulently induced the sale of DRIP; (c) whether Defendant breached its

contractual obligations to the purchasers of DRIP; and (d) whether Plaintiff and those similarly

situated incurred damages as a direct and proximate result of their purchase of DRIP.

   24. Typicality (Fed. R. Civ. P. 23 (a) (3)): The Plaintiff's claims are typical of the claims

of all class members. The Plaintiff purchased and received the same security – the DRIP tokens

from Defendant Spence. The Plaintiff is making the same claims and seeking the same relief for

itself and all class members based upon the same federal statute. The Defendant has acted in the

same or in a similar manner with respect to the Plaintiff and all the class members by using

fraudulent means to sell the DRIP tokens.

   25. Common Conduct (Fed. R. Civ. P. 23 (b) (2)): Class certification is also appropriate

because the Defendant has acted in the same or similar manner with respect to all class members

thereby making injunctive and declaratory relief appropriate.

   26. Predominance and Superiority (Fed. R. Civ. P. 23 (b) (3)): Common questions of law and

fact predominate over any questions affecting only individual members, and a class action is

superior to other methods for the fair and efficient adjudication of the controversy because:

           a. Proof of the claims of the Plaintiff will also prove the claims of the class without

               the need for separate or individualized proceedings;




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    b. Evidence regarding defenses or any exceptions to liability that the Defendant may

       assert and attempt to prove will come from the Defendant’s records and will not

       require individualized or separate inquiries or proceedings;

    c. The Defendant has acted and is continuing to act pursuant to common policies or

       practices in the same or similar manner with respect to all class members;

    d. The amount likely to be recovered by individual class members does not support

       individual litigation. A class action will permit a large number of relatively small

       claims involving virtually identical facts and legal issues to be resolved efficiently

       in one proceeding based upon common proofs; and

    e. This cause is management as a class action in that:

            i. The blockchain records clearly indicate the persons who purchased the

               DRIP token and the consideration paid therefor;

           ii. Liability and damages can be established for the Plaintiff and the class with

               the same common proofs;

          iii. Statutory damages are provided for in the statute and are the same for all

               class members and can be calculated in the same or a similar manner;

          iv. A class action will result in an orderly and expeditious administration of

               claims and it will foster economics of time, effort and expense;

           v. A class action will contribute to uniformity of decisions concerning the

               Defendant’s practices;

          vi. As a practical matter, the claims of the class are likely to go unaddressed

               absent class certification.




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                    COUNT I – VIOLATION OF THE EXCHANGE ACT

    27. Plaintiffs incorporates the preceding paragraphs as if full restated herein.

    28. The DRIP tokens each represent a “security” as defined in Section 10(b) of the 1934 Act

and Securities and Exchange Commission Rule 10b-1 promulgated thereunder.

    29. Spence employed fraudulent misrepresentations, artifices of fraud and material omissions

as a means to solicit the sale of the DRIP tokens to Plaintiff and others similarly situated as follows:

            a. Spence represented that DRIP was technologically superior and had greater utility

                than the cryptocurrency in fact had, and further claimed an alleged superiority to

                the common RIPPLE cryptocurrency;

            b. Spence represented that he was a successful venture capitalist, blockchain

                entrepreneur and cryptocurrency trader, and was committed to furthering the DRIP

                token and its consumer adoption;

            c. Spence promised the payment of a dividend on the ownership of the DRIP token

                but never offered investors any such return; and

            d. Spence concealed and converted for his own account and benefit the entirety of the

                proceeds of the sale of the DRIP token.

    30. Spence knew that his multitude of representations concerning the economic value and its

utility as a currency were false at the time he made them.

    31. By virtue of Spence’s fraudulent misrepresentations, artifices of fraud and material

omissions, it has violated Section 10(b) of the 1934 Act and Rule 10b-5 in that it (a) employed

devices schemes and artifices to defraud; (b) made untrue statements of material facts and omitted

adverse material facts to make the statements made not misleading, and (c) engaged in acts,




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practices and a course of business that operated as a fraud and deceit on Plaintiff and other’s

similarly situated.

    32. In furtherance of his scheme to defraud, Spence directly or indirectly, used the means and

instrumentalities of interstate commerce, including, but not limited to, the mails, interstate

electronic communications and interstate telephonic communications.

    33. Spence acted with scienter in that he knew the fraudulent misrepresentations, artifices of

fraud and material omissions were made solely to induce Plaintiff and others similarly situated to

purchase the DRIP tokens.

    34. As a direct and proximate result of the conduct described herein, Plaintiff and others

similarly situated has incurred damages as Spence has converted his Ethereum token.

    35. The conduct of Spence described herein was malicious and made with the intent to inflict

financial damages upon Plaintiff, and by reason thereof, punitive and exemplary damages should

be assessed against him.

    36. WHEREFORE, Plaintiff prays for the relief set forth below.

                             COUNT II – COMMON LAW FRAUD

    37. Plaintiffs incorporates the preceding paragraphs as if full restated herein.

    38. Spence employed fraudulent misrepresentations, artifices of fraud and material omissions

as a means to solicit the sale of the DRIP tokens to Plaintiff and others similarly situated as follows:

            a. Spence represented that DRIP was technologically superior and had greater utility

                than the cryptocurrency in fact had, and further claimed an alleged superiority to

                the common RIPPLE cryptocurrency;




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           b. Spence represented that he was a successful venture capitalist, blockchain

               entrepreneur and cryptocurrency trader, and was committed to furthering the DRIP

               token and its consumer adoption;

           c. Spence promised the payment of a dividend on the ownership of the DRIP token

               but never offered investors any such return; and

           d. Spence concealed and converted for his own account and benefit the entirety of the

               proceeds of the sale of the DRIP token.

   39. Spence knew that his multitude of representations concerning the economic value and its

utility as a currency were false at the time he made them.

   40. Spence acted with scienter in that he knew the fraudulent misrepresentations, artifices of

fraud and material omissions were made solely to induce Plaintiff and others similarly situated to

purchase the DRIP tokens.

   41. As a direct and proximate result of the conduct described herein, Plaintiff and others

similarly situated has incurred damages as Spence has converted his Ethereum token.

   42. The conduct of Spence described herein was malicious and made with the intent to inflict

financial damages upon Plaintiff, and by reason thereof, punitive and exemplary damages should

be assessed against him.

   43. WHEREFORE, Plaintiff prays for the relief set forth below.

                           COUNT III – BREACH OF CONTRACT

   44. Plaintiffs incorporates the preceding paragraphs as if full restated herein.

   45. Beginning on November 2, 2017 and continuing through November 27, 2017, Plaintiff and

others similarly situated entered into an agreement with Spence for purposes of purchasing

763,874 DRIP token in exchange for 46 Ethereum token.



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    46. Spence employed fraudulent misrepresentations, artifices of fraud and material omissions

as a means to coerced and induce Plaintiff and others similarly situated to contract with Spence,

including:

             a. Spence represented that DRIP was technologically superior and had greater utility

                than the cryptocurrency in fact had, and further claimed an alleged superiority to

                the common RIPPLE cryptocurrency;

             b. Spence represented that he was a successful venture capitalist, blockchain

                entrepreneur and cryptocurrency trader, and was committed to furthering the DRIP

                token and its consumer adoption;

             c. Spence promised the payment of a dividend on the ownership of the DRIP token

                but never offered investors any such return; and

             d. Spence concealed and converted for his own account and benefit the entirety of the

                proceeds of the sale of the DRIP token.

    47. The aforementioned misrepresentations were of such a nature and gravity that as a direct

and proximate result, Plaintiff and others similarly situated failed to obtain their contractual benefit

of their bargain.

    48. For such reason, Spence has breached the verbal contracts made with Plaintiff and others

similarly situated

    49. Plaintiff and others similarly situated from incurred damages as a direct and proximate

result of Spence’s breach of contract.

    50. The conduct of Spence described herein was malicious and made with the intent to inflict

financial damages upon Plaintiff, and by reason thereof, punitive and exemplary damages should

be assessed against him.



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   51. WHEREFORE, Plaintiff prays for the relief set forth below.

                         COUNT IV – RESCISSION OF CONTRACT

   52. Plaintiff incorporates the preceding paragraphs as if fully restated herein.

   53. Beginning on November 2, 2017 and continuing through November 27, 2017, Plaintiff and

others similarly situated entered into an agreement with Spence for purposes of purchasing

763,874 DRIP token in exchange for 46 Ethereum token.

   54. Spence owed a fiduciary duty to Plaintiff and others similarly situated by virtue of the

solicitation, offer and sale of DRIP token – e.g., a security

   55. Spence employed fraudulent misrepresentations, artifices of fraud and material omissions

as a means to coerced and induce Plaintiff and others similarly situated to contract with Spence,

including:

             a. Spence represented that DRIP was technologically superior and had greater utility

                than the cryptocurrency in fact had, and further claimed an alleged superiority to

                the common RIPPLE cryptocurrency;

             b. Spence represented that he was a successful venture capitalist, blockchain

                entrepreneur and cryptocurrency trader, and was committed to furthering the DRIP

                token and its consumer adoption;

             c. Spence promised the payment of a dividend on the ownership of the DRIP token

                but never offered investors any such return; and

             d. Spence concealed and converted for his own account and benefit the entirety of the

                proceeds of the sale of the DRIP token.




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    56. The aforementioned misrepresentations were of such a nature and gravity that as a direct

and proximate result, Plaintiff and others similarly situated failed to obtain their contractual benefit

of their bargain.

    57. For such reason, Spence has breached the verbal contracts made with Plaintiff and others

similarly situated

    58. Plaintiff and others similarly situated can be returned to the status quo ante by the return

of the 46 Ethereum token used to purchase the DRIP token.

    59. Plaintiff and others similarly situated have no adequate remedy at law.

    60. WHEREFORE, Plaintiff prays for the relief set forth below.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court grant the following relief:

           A.        That the Court adjudge and decree that the present case may be properly

   maintained as a class action, appoint the Plaintiff as the representative of the class, and appoint

   the Plaintiff’s counsel as counsel for the class;

           B.        That the Court award actual monetary loss from such violations, and that the

   Court award treble damages if the violations are deemed “willful and knowing”;

           C.        That the transactions for the purchase of the DRIP tokens be rescinded (in the
   alternative)

           D.        That the Court award pre-judgment interest, costs, and such further relief as the

   Court may deem just and proper.

Dated: March 27, 2018                           Respectfully submitted,

                                                KEVIN HEBERLE

                                                /s/ Adam S. Tracy
                                                _____________________________
                                                One of His Attorneys

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